                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

__________________________________________
                                          )                 DOCKET NO. 5:11Cr73-V
UNITED STATES OF AMERICA                  )
                                          )                 ORDER TO UNSEAL
       v.                                 )                 INDICTMENT
                                          )
(1) ARNOLD LYNN DOWELL                    )
(2) JOHNNY SANFORD JOHNSON                )
(3) JOHN KENNETH SMITH                    )
(4) SHAWNA MICHELLE SWAIM                 )
(5) KENNETH CHAD CALL                     )
(6) DUSTAN PETE PERRY                     )
(7) BRENDA WYATT TRIPLETT                 )
       a/k/a Kandy Combs                  )
(8) REX ALLEN HAWKINS                     )
(9) EVELYN LOUISE PETERS                  )
(10) BOBBIE JO COMBS                      )
(11) JOSEPH MARSHALL JORDAN               )
(12) PARKS BRADLEY SHORE,                 )
       a/k/a Bradley Parks Shore          )
(13) DIANNA GAYE SHORE,                   )
       a/k/a Dianna Wood                  )
(14) CURTIS SHAWN SETTLE                  )
(15) MORGAN LEWIS SPARKS                  )
(16) LARRY RAY MASH                       )
(17) CHRIS ISAAC JOHNSON                  )
__________________________________________)

       UPON MOTION of the United States of America, by and through Anne M. Tompkins,

United States Attorney for the Western District of North Carolina, for an Order directing that the

Indictment be unsealed,

       IT IS HEREBY ORDERED that the Indictment be unsealed.




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          The Clerk is directed to certify copies of this Order to the United States Attorney's

Office.

                                                Signed: December 19, 2011




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